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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

IN RE: APPLICATION OF                                 )
THE UNITED STATES OF AMERICA                          )       Misc No. 2:19-mc-92-JHR
FOR AN ORDER PURSUANT TO                              )
20 U.S.C. § 1232g(b)(1)(J)(i)                         )       FILED UNDER SEAL

          MOTION TO EXTEND SEALING AND NON-DISCLOSURE ORDER

       The United States of America, by and through its attorneys, Halsey B. Frank, United

States Attorney for the District of Maine, and Sheila W. Sawyer, Assistant United States

Attorney, respectfully moves this Honorable Court to continue its original May 8, 2019 Order

directing the University of Southern Maine not to disclose the existence of the subpoena

underlying this matter, and to extend the time for sealing of the Application, Order, and all

associated docket entries in the above-captioned matter.

       On May 8, 2019, this Court issued an Order directing the University of Southern Maine

not to disclose the existence of a federal grand jury subpoena and sealing for a period of 90 days

the government’s Application for a Non-Disclosure Order and the associated Order. This matter

relates to an ongoing fraud investigation that is not known to the targets of the investigation.

Unsealing the above-referenced Application and Order would reveal details of the investigation

and might alert the targets of the investigation to the scope and direction of the inquiry, which

may result in the destruction of or tampering with evidence and seriously jeopardize the

investigation. Additionally, the Government seeks to protect the names of potential victims who

are identified in the subpoena.

       ACCORDINGLY, it is respectfully requested that the Court grant the attached Order

directing University of Southern Maine not to notify any other person of the existence of the

underlying subpoena for an additional 90 days, until August 3, 2020, and extending the Court’s
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prior order the sealing the Application, Order, and all associated docket entries in the above-

captioned matter until further order of the Court.



Date: May 7, 2020

                                              Halsey B. Frank
                                              United States Attorney


                                              _/s/ Sheila W. Sawyer_______________
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